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OF APPEALS

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DISTRICT OF TEXAS

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WORTH

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RODNEY D. DAVIDSON&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPELLANT

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THE STATE OF TEXAS&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; STATE

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; FROM
THE 43RD DISTRICT COURT OF PARKER COUNTY

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&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; I.&nbsp; Introduction








Appellant Rodney D. Davidson
appeals his conviction and ten-year sentence for felony driving while
intoxicated (DWI).&nbsp; In two issues,
Appellant complains that (1) the trial court erred in conducting a bench trial
despite the fact that he did not waive his right to a jury trial, and (2) his
trial attorney rendered ineffective assistance of counsel.[1]&nbsp; Because we sustain Appellant=s first issue, we reverse and remand this case for a new trial.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; II.&nbsp; Procedural Background

Appellant was tried by the
court without a jury on a plea of not guilty.&nbsp;
The record does not contain a statutory written jury waiver, see Tex. Code Crim. Proc. Ann. art. 1.13
(Vernon 2005), nor does it indicate that Appellant orally waived that right
before the trial court.&nbsp; Rather, the only
evidence indicating that Appellant did in fact waive his right to a jury trial
appears in the court=s
judgment.&nbsp; The judgment recites that A[after both sides announced ready for trial], the Defendant, Defendant=s attorney, and the State=s attorney agreed in open court and in writing to waive a jury in the
trial of this cause and to submit it to the Court.&nbsp; The Court consented to the waiver of a jury.@








Following his conviction, Appellant
filed a pro se notice of appeal attacking the veracity of these recitals in the
trial court=s
judgment.&nbsp; The court appointed Appellant
appellate counsel and we subsequently abated the case, on Appellant=s motion, in order to permit the trial court to conduct a hearing to
determine (1) whether Appellant waived his right to a jury trial and (2)
whether Appellant was denied the effective assistance of counsel at a critical
stage of the proceedings. 

During the hearing, Appellant
testified that his trial counsel never asked him if he would like to waive his
right to a jury trial nor did he ever agree to do so.&nbsp; Appellant explained that he knew he had a
right to be tried by a jury but that he did not realize that his case was
proceeding as a bench trial until after the trial had already begun.&nbsp; Appellant stated that A[a]fter the trial done started, I was expecting the jurors to file in
and we were going to start picking the jurors.&nbsp;
And I leaned over and asked [trial counsel] &gt;when do we start picking the jury?=&nbsp; And he said, &gt;We done discussed this.&nbsp; You
gave up your right to a jury trial.=@&nbsp; Appellant also testified that
when he objected to moving forward without a jury his trial counsel Atold me to be quiet, and that the Judge was going to be trying me and
sentencing me, and if I made a scene, it would just look bad and he=d give me more time.@&nbsp; At the conclusion of the
hearing, the trial court made the following findings of fact:

1.&nbsp;&nbsp;&nbsp;&nbsp; No written jury waiver is contained in the District Clerk=s
file or reflected on the court=s docket sheet.

&nbsp;

2.&nbsp;&nbsp;&nbsp;&nbsp; The Court did not ask the Defendant whether he wanted to waive a
trial by jury.

&nbsp;

3.&nbsp;&nbsp;&nbsp;&nbsp; A jury waiver was not discussed in court among the parties or
the Court.

&nbsp;








4.&nbsp;&nbsp;&nbsp;&nbsp; The Defendant . . . did not sign a written jury waiver.

&nbsp;

5.&nbsp;&nbsp;&nbsp;&nbsp; The Defendant . . . did not agree to a jury waiver in open court
and in writing.

&nbsp;

6.&nbsp;&nbsp;&nbsp;&nbsp; With no written jury waiver actually executed, the Court did not
consent to a jury waiver in open court as reflected in the Judgment and
Sentence.

&nbsp;

7.&nbsp;&nbsp;&nbsp;&nbsp; The bench trial had already begun before the Defendant realized
that he was being tried without a jury.

&nbsp;

8.&nbsp;&nbsp;&nbsp;&nbsp; Shortly after the bench trial had begun, the Defendant brought
it to his trial counsel=s
attention that he wanted a jury trial, but his counsel simply instructed the
Defendant that he should just proceed without a jury, and his counsel did not
determine whether the Defendant truly wanted to be tried without a jury.

&nbsp;

9.&nbsp;&nbsp;&nbsp;&nbsp; At the moment the Defendant complained to his counsel that he
wanted a jury trial, his counsel did not call for a recess to counsel with the
Defendant to clarify whether he voluntarily and knowingly wanted to waive a
jury.

&nbsp;

10.&nbsp;&nbsp; At the moment the Defendant complained to his counsel that he
wanted a jury trial, his counsel did not call for a recess to advise the Court
or the State that there was a question as to whether the Defendant voluntarily
and knowingly wanted to waive a jury.

&nbsp;

11.&nbsp;&nbsp; At the moment the Defendant complained to his counsel that he
wanted a jury trial, his counsel did not call for a recess to advise the Court
or the State there was not a written jury waiver and that the Defendant was
complaining that he had not waived a jury.

&nbsp;

12.&nbsp;&nbsp; The Defendant was sentenced on 13 March 2006.

&nbsp;








13.&nbsp;&nbsp; The Court found before trial that the Defendant was indigent and
was entitled to court-appointed counsel.

&nbsp;

14.&nbsp;&nbsp; Upon conviction and sentencing the Defendant remained indigent,
and was entitled to court-appointed counsel to represent him on appeal.

&nbsp;

15.&nbsp;&nbsp; The Court appointed counsel to represent the Defendant on appeal
on 20 April 2006.

&nbsp;

16.&nbsp;&nbsp; During the thirty (30) day time period after sentencing, the
Defendant=s
court-appointed trial counsel did not consult with the Defendant regarding his
opportunity to present in a motion for new trial any complaints about his
conviction or sentence.

&nbsp;

17.&nbsp;&nbsp; During the thirty (30) day time period after sentencing, the
Defendant=s
court-appointed trial counsel did not consult with the Defendant regarding any
grounds to appeal his conviction or sentence.

&nbsp;

18.&nbsp;&nbsp; During the thirty (30) day time period after sentencing, the
Defendant=s
court-appointed trial counsel did not consult with the Defendant regarding his
opportunity to present in a motion for new trial or direct appeal his specific
complaint that he was tried without having knowingly and voluntarily and in
writing waived [his right to] a jury trial. 

&nbsp;

19.&nbsp;&nbsp; Within thirty (30) days post conviction and sentencing, the
Defendant sent a letter to the trial court requesting an appeal and complaining
that he had not waived a jury trial.

&nbsp;

20.&nbsp;&nbsp; Within thirty (30) days post conviction and sentencing, the
Defendant sent a letter to the trial court requesting an appeal and complaining
that his trial attorney was ineffective and that his trial attorney allowed him
to be tried without a jury when he had not waived a jury trial.

&nbsp;








21.&nbsp;&nbsp; New counsel was not appointed to represent the Defendant on appeal
until 20 April 2006, thirty-eight (38) days beyond the date of sentencing.

&nbsp;

22.&nbsp;&nbsp; Although properly subpoenaed and served with notice of the
Abatement Hearing, [Defendant=s trial counsel] failed to
appear in court to testify. 

&nbsp;

23.&nbsp;&nbsp; Before the hearing date, [Defendant=s
trial counsel] informed the Defendant=s appellate counsel that he
did not remember whether the&nbsp; Defendant
waived a jury trial.

&nbsp;

24.&nbsp;&nbsp; [Defendant=s
trial counsel] informed the Defendant=s appellate counsel that he
could not affirmatively state that the Defendant waived a jury trial. 

&nbsp;

25.&nbsp;&nbsp; [Defendant=s
trial counsel] informed the Defendant=s appellate counsel that
there were no notes documented in his file for [the Defendant] that would
indicate that [he] waived his jury trial right.&nbsp;


&nbsp;

Additionally, the court made the following
conclusions of law based on the evidence elicited at the hearing:

&nbsp;

1.&nbsp;&nbsp;&nbsp;&nbsp; The Defendant . . . did not knowingly and voluntarily waive a
jury trial.

&nbsp;

2.&nbsp;&nbsp;&nbsp;&nbsp; The Defendant . . . did not knowingly and voluntarily in writing
waive a jury trial.

&nbsp;

3.&nbsp;&nbsp;&nbsp;&nbsp; The recitation in the Judgment and Sentence that the Defendant
agreed Ain
open court and in writing to waive a jury@ is not an accurate
statement.

&nbsp;

4.&nbsp;&nbsp;&nbsp;&nbsp; The recitation in the Judgment and Sentence that the ACourt
consented to the waiver of a jury@ is not an accurate
statement.








&nbsp;

5.&nbsp;&nbsp;&nbsp;&nbsp; The Defendant by direct proof overcame any presumption of
regularity and truthfulness of the recitations regarding a jury waiver in the
Judgment and Sentence.

&nbsp;

6.&nbsp;&nbsp;&nbsp;&nbsp; The Defendant was not provided effective representation of
counsel during the statutory time period to file a motion for new trial, a
critical stage of the proceedings.

&nbsp;

7.&nbsp;&nbsp;&nbsp;&nbsp; The Defendant=s pro se letter rebutted the
presumption that post-conviction and sentencing the Defendant was adequately
represented by counsel during a critical stage of the proceedings.

&nbsp;

8.&nbsp;&nbsp;&nbsp;&nbsp; The Defendant=s pro se letter rebutted the
presumption that post-conviction and sentencing the Defendant was adequately
represented by counsel and was voluntarily forgoing his statutory motion for
new trial opportunity to raise his complaints regarding his trial counsel and
his complaint that he was tried without a jury.

&nbsp;

9.&nbsp;&nbsp;&nbsp;&nbsp; Because the Defendant raised complaints that his trial lawyer
was ineffective in his pro se letter to the court requesting an appeal, there
existed a conflict of interest in [trial counsel=s]
representation, given the Defendant=s right to present those
claims and the self-interest of his trial counsel to refute the ineffective
assistance claims.

&nbsp;

10.&nbsp;&nbsp; Because the Defendant raised complaints that his trial lawyer was
ineffective in his pro se letter to the court requesting an appeal, there
existed a conflict of interest in [trial counsel=s]
representation, given the Defendant=s right to present those
claims and the self-interest of his trial counsel to refute the ineffective
assistance claims; therefore, the Defendant did not receive adequate
representation of counsel during a critical stage of the proceedings.&nbsp; 

&nbsp;

&nbsp;

&nbsp;








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; III.&nbsp; Waiver of Right to Jury Trial








The right to a jury trial at
the guilt stage is both a statutory and a constitutional right that cannot be
relinquished absent an express waiver.&nbsp; See
U.S. Const. art. III, ' 2 &amp; amend. VI; Tex. Const.
art. I, ' 15; Tex. Code Crim. Proc. Ann.
art. 1.12-.13 (Vernon 2005); Meek v. State, 851 S.W.2d 868, 870 (Tex.
Crim. App. 1993); Marin v. State, 851 S.W.2d 275, 278‑79 (Tex.
Crim. App. 1993), overruled on other grounds by Cain v. State, 947
S.W.2d 262, 264 (Tex. Crim. App. 1997).&nbsp;
To constitute an express waiver, there must be an Aintentional relinquishment or abandonment of a known right or
privilege.@ Marin,
851 S.W.2d at 279.&nbsp; A defendant=s mere acquiescence in proceeding to trial without a jury does not
constitute an express waiver.&nbsp; See Ex
parte Lyles, 891 S.W.2d 960, 961 (Tex. Crim. App. 1995).&nbsp; In the present case, the record from the
abatement hearing clearly shows that Appellant did not expressly waive, in any
form to the trial court, his right to a trial by jury.[2]&nbsp; Consequently, we conclude that Appellant was
denied his constitutional and statutory right to a jury trial. 

Denial
of a criminal defendant=s
constitutionally guaranteed right to a jury trial is a &gt;structural=
constitutional error that affects the very framework of the underlying
trial.&nbsp; See Loveless v. State, 21
S.W.3d 582, 584 (Tex. App.CDallas 2000, pet. ref=d), abrogated on other grounds by Johnson v. State, 72 S.W.3d
346 (Tex. Crim. App. 2002); Trahan v. State, 991 S.W.2d 936, 940‑41
(Tex. App.CHouston [1st
Dist.] May 13, 1999, pet. dism=d), vacated on other grounds without op., reaffirmed on remand, No.
01‑96‑01232‑CR, 2003 WL 164529 (Tex. App.CHouston [1st Dist.] Jan. 23, 2003, no pet.); Lowery v. State, 974
S.W.2d 936, 942 (Tex. App.CDallas 1998, no pet.).&nbsp; Such
errors defy analysis by harmless error standards and are therefore not subject
to a harm analysis. &nbsp;Cain v. State, 947
S.W.2d 262, 264 (Tex. Crim. App. 1997) (superceded by statute on other
grounds); see Lowery, 974 S.W.2d at 942.&nbsp;
Accordingly, we hold that Appellant was harmed and sustain his first
issue.[3]&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;

&nbsp;








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IV.&nbsp; Conclusion

Having held that Appellant
was deprived of his constitutional right to a jury trial, we reverse the trial
court=s judgment and remand this cause for a new trial.

&nbsp;

&nbsp;

ANNE GARDNER 

JUSTICE

&nbsp;

PANEL F:&nbsp;&nbsp;&nbsp; GARDNER, WALKER, and MCCOY, JJ.

&nbsp;

PUBLISH

&nbsp;

DELIVERED:&nbsp; May 10, 2007

&nbsp;











[1]The
State has not filed a brief in response.





[2]While
we are bound to presume the regularity and truthfulness of recitations in a
judgment, Breazeale v. State, 683 S.W.2d 446, 450 (Tex. Crim. App. 1985)
(op. on reh=g),
that presumption is overcome when an Appellant objects to the accuracy of the
judgment or affirmatively disproves the disputed recitation.&nbsp; Meek, 851 S.W.2d at 870; Jackson v.
State, 76 S.W.3d 798, 803 n.4 (Tex. App.CCorpus Christi 2002, no pet.).&nbsp; Here, Appellant met this burden by requesting
that the appeal be abated and by subsequently bringing forth sufficient
evidence to establish the falsity of the recitations in the judgment.&nbsp; See Meek, 851 S.W.2d at 870; Breazeale,
683 S.W.2d at 450.





[3]Because
this issue is dispositive we need not reach Appellant=s
remaining issue that his trial counsel rendered ineffective assistance.







